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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 The State of Texas, et al.,

                        Plaintiffs,
                                                   Case No. 4:20-cv-00957-SDJ
 v.
                                                   Hon. Sean D. Jordan
 Google LLC,

                        Defendant.




                   [PROPOSED ORDER] DENYING GOOGLE’S
             MOTION FOR CONTINUANCE AND CONFERENCE REQUEST


       Defendant Google LLC has filed a Verified Motion for Continuance and Conference

Request, Dkt. No. 862, moving for a continuance of the August 11 liability trial date and requesting

a conference with the Court. The Court has carefully considered the parties’ filings and

       FINDS that Google has failed to put forward good cause to change the trial date and a

status conference has already been scheduled by the Court. Accordingly,

       IT IS THEREFORE ORDERED that Google’s Motion for Continuance and Conference

Request is hereby DENIED.
